                        NOT FOR PUBLICATION WITHOUT THE
                      APPROVAL OF THE APPELLATE DIVISION
     This opinion shall not "constitute precedent or be binding upon any court."
      Although it is posted on the internet, this opinion is binding only on the
         parties in the case and its use in other cases is limited. R.1:36-3.



                                       SUPERIOR COURT OF NEW JERSEY
                                       APPELLATE DIVISION
                                       DOCKET NO. A-3213-15T2

MARION M. FITZGERALD,

        Plaintiff-Respondent,

and

JANEL FITZGERALD,

        Plaintiff,

v.

JASON D. DUFF,

        Defendant-Appellant.

_____________________________

              Submitted April 5, 2017 – Decided           April 26, 2017

              Before Judges Simonelli and Gooden Brown.

              On appeal from the Superior Court of New
              Jersey, Chancery Division, Family Part,
              Burlington County, Docket No. FD-03-1165-09.

              Michael S. Rothmel, attorney for appellant.

              Respondent has not filed a brief.

PER CURIAM

        We have been advised that this matter has been amicably

adjusted and the parties have stipulated to the dismissal of this
appeal.   Accordingly, the appeal is dismissed with prejudice and

without costs.




                                2                         A-3213-15T2
